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           d. JSC Capital Bank, including but not limited to OneCoin Limit (IBAN
              GE35IN0036920002741601; SWIFT Code: CPTBGE22)

           e. North International Bank

           f. Noor Bank (Dubai), including but not limited to OneCoin account
              02410664730049

           g. First Caribbean Bank

           h. Regions Bank, including but not limited to Zala account 010030009998, ABA
              0622005690

    3. The account in the United Kingdom, that according to the Government, wired funds to
       the Fenero Funds (see p. 31 of Government Opposition to Rule 29 and Rule 33 motions)

    4. All records for Bannockburn (First Financial Bank) that managed foreign exchange
       transactions for TD Bank account 2427847544, along with any other statements for
       Bannockburn accounts alleged to have handled OneCoin-related money. 1

    5. All records relating to accounts of SecurePoint Corp. at TD Bank under the primary
       account number 242-7847544 (we only have statements for 2427847544-713)

    6. All transactions relating to the purchase of OneCoin packages that were processed
       through US2Moon, including but not limited to those going to TD Bank account
       2427847544 or any other transactions processing OneCoin payments

    7. All records for the Viola AM (UK) Limited account that sent 5,000,000 EUR on April
       19, 2016 to the Fates Group Account 658046484653 at Morgan Stanley, sent through
       Mercury FX.

        We respectfully request that you provide us with these statements by April 20th or notify
us by that time if you have such statements in your possession but decline to produce them, so
we may raise the issue with the Court.



                                                            Respectfully Submitted,

                                                            /s Arlo Devlin-Brown
                                                            Arlo Devlin-Brown


1
 We have compared the incoming transfers shown on GX 730-A from TD account 2427847454
with the outgoing transfers to Bannockburn from the same TD account as shown on GX 723-B,
and there is a mismatch of approximately $15 million USD.

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                                         U.S. Department of Justice

                                                   United States Attorney
                                                   Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007



                                                   April 23, 2020

BY EMAIL
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Covington & Burling LLP
The New York Times Building
620 Eighth Avenue
New York, NY 10018-1405

David M. Garvin, P.A.
200 South Biscayne Blvd., Suite 3150
Miami, FL 33131

                Re:    United States v. Mark S. Scott, S10 17 Cr. 630 (ER)

Dear Counsel:

       The Government writes in response to your letter dated April 15, 2020, in which you
request certain bank records from the Government. The Government’s responses to your
individual requests—made to the best of its ability, based upon a review of voluminous records
and discovery materials—are below.

1.     IMS Pte Accounts Ending in 7201 and 0301 at OCBC Singapore

       The Government does not appear to have obtained bank records from OCBC Singapore
for accounts held by IMS Pte ending in 7201 and 0301.

2.     Accounts Held by Gilbert Armenta, Fates Group, Zala Group, and/or ESOL B.V.

       a.       Sabadell Bank / Iberia Bank

        To date, all relevant bank records obtained by the Government from Sabadell Bank /
Iberia Bank appear to have been produced in discovery. Sabadell Bank / Iberia Bank records
were produced to you marked with the following Bates numbers: USAO_00035202 –
USAO_00037135; USAO_00052396 – USAO_00053539; USAO_00146571 –
USAO_00146771; USAO_00153879 – USAO_00153934; USAO_00155395 –
USAO_00156127; USAO_00163496 – USAO_00163725; and USAO_00168303 –
USAO_00168424.
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       b.     BankUnited

       To date, all relevant bank records obtained by the Government from BankUnited appear
to have been produced in discovery. BankUnited records were produced to you marked with the
following Bates numbers: USAO_00139698 – USAO_00139795 and USAO_00156986 –
USAO_00157108.

       c.     TD Bank

       To date, all relevant bank records obtained by the Government from TD Bank appear to
have been produced in discovery. TD Bank records were produced to you marked with the
following Bates numbers: TDBNA-0000001 – TDBNA-0000531; USAO_00053540 –
USAO_00053670; USAO_00138872 – USAO_00139245; USAO_00146772 –
USAO_00147079; USAO_00153974 – USAO_00155374; USAO_00163726 –
USAO_00164306; and USAO_00172131 – USAO_00172353.

       d.     JSC Capital Bank

        The Government does not appear to have obtained bank records from JSC Capital Bank
for any account held at that bank, including OneCoin Limit (IBAN GE35IN0036920002741601;
SWIFT Code: CPTBGE22).

       e.     North International Bank

       The Government does not appear to have obtained bank records from North International
Bank for any account held at that bank.

       f.     Noor Bank (Dubai)

        The Government does not appear to have obtained bank records from Noor Bank (Dubai)
for any account held at that bank, including OneCoin account 02410664730049.

       g.     First Caribbean Bank

       To date, all relevant bank records obtained by the Government from First Caribbean
Bank appear to have been produced in discovery. First Caribbean Bank records were produced
to you marked with the following Bates numbers: USAO_00008746 – USAO_00010735 and
USAO_00110636 – USAO_00111537.

       h.     Regions Bank

       To date, all relevant bank records obtained by the Government from Regions Bank
appear to have been produced in discovery. Regions Bank records were produced to you marked
with the following Bates numbers: USAO_00052076 – USAO_00052077; USAO_00052090 –
USAO_00052319; USAO_00052325 – USAO_00052381; USAO_00052394 –




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USAO_00052395; USAO_00146331 – USAO_00146570; and USAO_00156875 –
USAO_00156984.

3.     Account in the United Kingdom

        The sentence referred to on page 26 of the Government’s Opposition to the defendant’s
Rule 29 and Rule 33 Motion contains several inadvertent errors. 1 As correctly reflected in the
admitted Government Exhibit to which the sentence in question refers (GX-2602-A): (a) the total
amount of Euros transferred into the Fenero Funds was approximately €354 million, and not
approximately €364 million; and (b) nine—not ten—bank accounts held in Singapore, Germany,
Hong Kong, the United States, and Bulgaria—not the United Kingdom—directly funded
transfers into the Fenero Funds.

4.     Bannockburn Records

       To date, all relevant Bannockburn bank records obtained by the Government from First
Financial Bank and HSBC Bank appear to have been produced in discovery. Bannockburn bank
records obtained from First Financial Bank were produced to you on or about November 1, 2019,
marked with Bates numbers USAO_00156185 – USAO_00156186. Bannockburn bank records
obtained from HSBC Bank were produced to you on or about November 1, 2019, marked with
Bates numbers USAO_00156187 – USAO_00156874. Additional Bannockburn bank records
obtained from HSBC Bank were produced to you on or about April 21, 2020, marked with Bates
numbers USAO_00168425 – USAO_00172130.

5.     SecurePoint Corporation TD Bank Records

       As noted above, to date, all relevant bank records obtained by the Government from TD
Bank appear to have been produced in discovery. SecurePoint Corporation bank records
obtained from TD Bank were produced to you: (a) on or about September 4, 2019, marked with
Bates numbers USAO_00138872 – USAO_00139245; (b) on or about October 23, 2019, marked
with Bates numbers USAO_00153974 – USAO_00155374; and (c) on or about April 21, 2020,
marked with Bates numbers USAO_00172131 – USAO_00172353.

6.     US2Moon Records

         SecurePoint Corporation bank accounts held at TD Bank were utilized to receive wire
transfers for OneCoin package purchases processed through US2Moon. As noted above, to date,
all relevant bank records obtained by the Government from TD Bank appear to have been
produced in discovery. Note that, as the evidence presented at trial demonstrated, U.S. victims
were also sometimes directed to wire funds for OneCoin packages directly to foreign bank
accounts. (See Tr. 73-75; GX-2803, GX-2804).

1
   The sentence in question cites to GX-2602-A and states: “At trial, the Government established
that between May 2016 and October 2016, the defendant received wire transfers totaling
approximately €364 million and $10 million from approximately 10 different bank accounts held
at banks located in Singapore, Germany, Hong Kong, the United Kingdom, and the United States.”


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7.     Mercury FX / Viola AM (UK) Limited Records

       To date, all relevant bank records obtained by the Government related to the U.K. bank
account that transferred approximately €5 million to Fates Group account 658046484653 at
Morgan Stanley, on or about April 19, 2016, appear to have been produced in discovery.
Specifically, Barclays Bank PLC (UK) records were produced to you on or about October 10,
2019, marked with Bates numbers USAO_00150179 – USAO_00150716.


                                            Sincerely,

                                            GEOFFREY S. BERMAN
                                            United States Attorney

                                    by:     _______/s/_________________________
                                            Christopher J. DiMase / Nicholas Folly /
                                            Julieta V. Lozano
                                            Assistant United States Attorneys /
                                            Special Assistant United States Attorney
                                            (212) 637-2433 / 1060 / (212) 335-4025




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